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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.                                            Case No. 21-CR-206 (RDM)

JONATHAN MELLIS,

     Defendant.

   GOVERNMENT’S VIDEO EXHIBITS TO THE GOVERNMENT’S SENTENCING
                         MEMORANDUM

        The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the following video exhibits to the Government’s Sentencing

Memorandum, which have been provided to defense counsel and the Court via USAfx. As

videos, they are not in a format that readily permits electronic filing on CM/ECF.

        The videos are as follows:

        1.       Exhibit 1: Video that Mellis livestreamed on Instagram as he approached the

Capitol on January 6, 2021.

        2.       Exhibit 2: Video that Mellis livestreamed on Instagram as he approached the

lower west terrace of the Capitol on January 6, 2021.

        3.       Exhibit 3: Photograph Mellis took of himself near entrance of lower west terrace

archway.

        4.       Exhibit 4: A clip, 1:20 in length, of body worn camera footage showing Mellis

taking stick from Justin jersey, telling Jersey to knock their masks off, and attacking law

enforcement with stick on the lower west terrace on January 6, 2021, beginning at approximately

4:27 p.m.
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                    a. Exhibit 4A: A screenshot from Exhibit 7 showing Mellis taking long,

                        gnarled stick from Justin Jersey.

                    b. Exhibit 4B: A screenshot from Exhibit 7 showing Mellis about to strike

                        officers.

                    c. Exhibit 4C: A screenshot from Exhibit 7 showing Mellis striking officers

                        with long, gnarled stick at the lower west terrace.

        5.       Exhibit 5: A clip, 1:15: in length, of an open-source video depicting the assault on

police officers at the lower west terrace on January 6, 2021, beginning at approximately 4:27

p.m.

        6.       Exhibit 6: A clip, 1:00 in length, of officer body worn camera footage depicting

the violence that Mellis helped (re-)initiate at the lower west terrace on January 6, 2021 at

approximately 4:27 p.m. Mellis is seen falling backward into crowd after fighting from 0:09-

0:12.

        7.       Exhibit 7: A clip, 15:22 in length, from Capitol CCTV camera 0074, recording the

tunnel of the lower west terrace between the time of 4:30 p.m. and 4:45 p.m. on January 6, 2021.

Mellis can be seen throwing wood at 11:45-12:15.

        8.       Exhibit 8: Twitter clip, recorded on January 6, 2021, of Mellis discussing his

actions at the Capitol earlier in the day.

        9.       Exhibit 9: Screenshot of Facebook post by Mellis.

        10.      Exhibit 10: Screenshot of Facebook comments made by Mellis.

        11.      Exhibit 11: Screenshot of February 6, 2023 tweets from Mellis

        If the Court accepts the proposed video exhibits into evidence, the government takes the

position that the entered exhibits should be promptly released to the public.




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                      Respectfully submitted,

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